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                 EXHIBIT 8
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   From:           Alex Andrade
   To:             Fritz Wermuth
   Cc:             Erick Mead; Charles Beall; Dustin Mauser-Claassen; Quinn Ritter; Melissa Hill
   Subject:        RE: Dorworth/Greenberg - Confidential Designations & Conferral on Motion to Compel
   Date:           Friday, August 30, 2024 3:48:07 PM


  Understood,

  Thank you.


  R. Alex Andrade
  Moore, Hill & Westmoreland, P.A.
  350 West Cedar Street, Suite 100
  Pensacola, Florida 32502
  Phone: (850) 434-3541
  Fax: (850) 435-7899
  www.mhw-law.com

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  From: Fritz Wermuth <FWermuth@kbzwlaw.com>
  Sent: Friday, August 30, 2024 2:39 PM
  To: Alex Andrade <aandrade@mhw-law.com>
  Cc: Erick Mead <emead@mhw-law.com>; Charles Beall <cbeall@mhw-law.com>; Dustin Mauser-
  Claassen <dmauser@kbzwlaw.com>; Quinn Ritter <qritter@kbzwlaw.com>; Melissa Hill
  <mhill@kbzwlaw.com>
  Subject: RE: Dorworth/Greenberg - Confidential Designations & Conferral on Motion to Compel


  Alex,

  Under the parties’ confidentiality agreement, you have waived any claim of
  confidentiality in these documents by failing to file a motion within 10 days of
  our formal challenges, which are attached. Thus, the Greenbergs are under no
  obligation to refrain from filing any of the designated materials on the open
  docket.

  That said, as a professional courtesy, we will agree not to file any of the
  documents or portions of transcripts you have marked confidential on the open
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  docket until after Wednesday, September 4, 2024. If you intend to ask the
  Court to require that any of the materials addressed in the attached letters be
  maintained as confidential and filed only under seal, you need to do so on or
  before that date.

  Any further delay in seeking relief will prejudice the Greenbergs because your
  confidentiality designations are currently preventing us from putting all
  information relevant to our pending motion to compel before the Court and will
  prevent us from putting all the evidence supporting our motion for sanctions
  before the Court after the safe-harbor period expires. For those reasons, we
  need to resolve this issue as soon as possible and Wednesday is the longest the
  Greenbergs can reasonably wait.


  Fritz Wermuth | Shareholder
  fwermuth@kbzwlaw.com
  KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.


  From: Alex Andrade <aandrade@mhw-law.com>
  Sent: Thursday, August 29, 2024 4:33 PM
  To: Fritz Wermuth <FWermuth@kbzwlaw.com>
  Cc: Erick Mead <emead@mhw-law.com>; Charles Beall <cbeall@mhw-law.com>; Dustin Mauser-
  Claassen <dmauser@kbzwlaw.com>; Quinn Ritter <qritter@kbzwlaw.com>; Melissa Hill
  <mhill@kbzwlaw.com>
  Subject: RE: Dorworth/Greenberg - Confidential Designations & Conferral on Motion to Compel

  Fritz,

  We intend to file a motion for protective order regarding the redacted portions of Rebekah
  Dorworth’s testimony and certain minor portions of the deposition transcript’s of Mike Fisher, A.B.
  and K.M.

  I am requesting an extension of time to the end of next week to file the motion before those
  redacted portions are filed with the court. I have been in depositions and mediations the majority of
  this week, and have not been able to finalize the motion, but will be able to finalize by Friday of next
  week.


  R. Alex Andrade
  Moore, Hill & Westmoreland, P.A.
  350 West Cedar Street, Suite 100
  Pensacola, Florida 32502
  Phone: (850) 434-3541
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  Fax: (850) 435-7899
  www.mhw-law.com

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  From: Fritz Wermuth <FWermuth@kbzwlaw.com>
  Sent: Tuesday, August 27, 2024 3:15 PM
  To: Alex Andrade <aandrade@mhw-law.com>
  Cc: Erick Mead <emead@mhw-law.com>; Charles Beall <cbeall@mhw-law.com>; Dustin Mauser-
  Claassen <dmauser@kbzwlaw.com>; Quinn Ritter <qritter@kbzwlaw.com>; Melissa Hill
  <mhill@kbzwlaw.com>
  Subject: Dorworth/Greenberg - Confidential Designations & Conferral on Motion to Compel


  Alex,

  As you will recall, we sent you the attached letter on August 16th, challenging your
  confidentiality designations in Rebekah Dorworth’s deposition transcript based on Judge
  Irick’s admonition regarding confidentiality designations moving forward in this case.
  The parties’ confidentiality agreement gives a party seeking to maintain a confidentiality
  designation 10 days from a confidentiality challenge “to file a motion directed to the
  United States District Court for the Middle District of Florida or otherwise act in
  conformity with the Court’s practice standards for resolving discovery disputes.” If a
  party does not do so within the 10-day time frame, the challenging party need not treat
  such materials as confidential. Because you did not timely file a motion within 10 days of
  our challenge, Plaintiff has waived his confidentiality designations as to Rebekah’s
  transcript. Also, because Plaintiff did not file a motion to maintain his designations of
  the deposition transcripts of A.B., K.M., and Mr. Fischer, those designations are also
  waived.

  Separately, we sent you a conferral letter on August 19th addressing deficiencies in
  Plaintiff’s response to the Greenbergs’ 21st request for production. That letter
  requested: “Plaintiff’s 2016, 2017, 2018, 2019, 2022, and 2023 tax returns” and stated
  that, “[i]f any of these returns are not yet complete, we demand that you produce all
  documents which Plaintiff is or will use to compile those returns so that we may
  evaluate Plaintiff’s income during the relevant period.” The letter requested a response
  by August 22nd. Because we have still not received any response to this request, we
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  would also like to confer regarding the issue and any subsequent motion to compel the
  Greenbergs may be forced to file. Please let me know when you are available this week
  to discuss.


  Fritz Wermuth | Shareholder

  fwermuth@kbzwlaw.com

  KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.

  25 East Pine St | P.O. Box 1631 | Orlando, FL 32801

  Tel: 407-422-2472 | Fax: 407-648-0161

  kbzwlaw.com


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